IN ‘THE UNITED STATES DISTRICT COURT

\ ‘- ‘ . FOR THE DISTRICT OF KANSAS
Justin T OCGoian

Plantiff(s),
“Leora Kelly,

Defendant(s) , 1
et al DetéendantS_

Case No. N-| TSW

Yo)23

eccen. vel Habe. ab all Bmes cwlenat fo fRS
action WAS et bvectl a as, warden et Necteo C pipechice ON
tacilty, C homely Lott Te CURICO Y OCC Coce.¢ ot +AC
Oloioht Wadden Heoke. Ss the. tocuihes Prakesst cu hee HAY
a sponsible. fac he. appaicrtiry 2 enpeyment aad Qvyere —-
Pfacility Shak andl facility Gperatio! nS cenednlly, Antic
het noel! 2ppe lore cuthortty “cue iamate: Washh ich
ote vans tad a seecnss, At cll Heyes leuant fo te
ES eeden Hobe ocked ucclec the color F Slate,
OW
Oo february » ot KN Jt pt Guin 4X8 arectect
tor vidlating the. Worene Otte ee Heaton Act 1 asass
peld iP custedy oF the Seclo.nc lA, Couthy Cetestica
fool “ Hor "CQICB a6 linte CBlOlV/aclLcn coset CCAION
go ch (ADOC. Laacranr | cas ae 2 ed te Se emaths io
the. ay TEES “Cicmont Ob Cor (ECHiONS J haicoe PROMGES €
aldofery Corre to, ial tone. crecick State. v Hepkias 245
Kan 7G SEI 1 ES Ded ical Cae) Cicer ASA AO NGA Suen
WAT). A deteccants Sentence. stacting “bte! (S computers
foc wllond cre ce + for The Fie. which: the defencact hos,
cook iocarcermes Pending The. eons dca of the.
delenit CEL “The Svpreine, Court has clankeal that a
"e Tenant & ented to. ail oweckt tec all the time he crn |
costcdy solely an the. cRawe foc whicin the ce Ac
> hota meMeerol< tate Vv “Hanoer 215 Kan FRE BAO (A Pd
NOS (etc) | wos seen by the lA Ww te 0 Rees
Peard on C “SS/CCelé JON Then | xa eA Oo VeEac VOIAHAN.
aad my oH mac =A tes to CEE. OD AO/OVSOI8, at
PICASE. SLAerViISICOD IS SuBpEOced when a cefer atk 1
iocacerateds, Unless the. atch. ee 5 — oon: meas ee
A PeryViSscy, White. €iX5 Ay I Ce 9 41S O (CAI

=

WR A Gat eGaars, mae le OSC 1 hes ok: bera |
euckied. cease aa lag-eer ee 2 >: Hebe fig se TES

u
svat

fet eer ee . Leen ems renee ae el RIENEID Pp mer mETSh were BH meme

ae le A cueocds, The Ge, SDHC ok the alder
st Clease pened CC any ced ATTOILA ocleninic Stradi ve

funchrent CEC CASING flery a cotentia( (or £ elec 2
Violated. Fate. V. Brees, Ne TA BGO. BOG WW 1G CS ot
¥ tae Apo. SOIT) In fhe Os ~ fuitolenicy f t1 chenent
te cl eacly States Teal Linas Gurmarcded ¢ OC SS ae Oe “re
Creat — Sa sors) case. AULCAIT and ET bad eaede?
Cedi foc these cafes iO i CAS thea (sas Qe
Eli abL = ee Cl plic ate. creclt in eae Lost celense in th.
FUCA OTA cose L306 Hol meucked Goh UL CSCC ee WV
HIRES case had alee Cy commenced can Ob/al Gor &

eee. iy celeace chle Gap QUE. oe. calodiiea 3
CO/Ol Tena exch ACK COA Kil Ot cond - Ie. Siselct aelica

in thet senence The, Vans. he Py cao Ecatd [ont

PSE}

there Sursdiches (amen [as Semtent Cal te SCH CCA(QU,
Pebe caret lease : SUDCIF VIS COL GS, sack 1D COSC At
(CRRTISH Twas entitled te} rerie 2 Cheat tor the, ail Hoe.

orn,

towards my sedlence. iq the acy, case The. at Qepactment
£ correc. Tens incotecty agolied! fhe: XS COS Gcaie Ek my
post release Ss pervig “Coes Tin the Sci case TRY Vaan!
Court ot Ageals S as ceed the chetnct coocks eee
Gemesag te Ih SAL (QO Ey 21 petit ch and ¢ mere the. oe |
chy Or An Tee: Senedd Pekwcem CVOER/IOG and CO /o), (ACYL
Pe cete fo Ors my: DIOL iD oe (oo Che _ Oye 465

manner allccatiy CH al eat ieansed by iOCT {his
(ex ek IO: FW Se ence | 0g lavatideted ee her siee.
Called inte: Gdéestos | Fe ue Wace Habe violdect" my oF -
Aen Tras Seced MY HEE Ofer Te le
fice. put ip eooorely ot tire, limb Lisas depived At EE
lhe ey and ACE xeehy Padbepkcle ae CREE Ot laud,

Oe. Deo riteet ot | Kaan Comechicoa Facit Vy

oeck ae “COCO OT OKE AE” warden re] {rate

1 wkd ackenent. OF Caccec-Gesne.

www, PrintablePaper, net

XT/ (XANXS pAISLIGI SOIRINO.- a ACIBIS. _

TTP am satin Come ee pe tcereernses Say me tee tenes iw MY fee ee
.

’
. . ee emai ae Ne ay
OP ‘ mete og ‘
“ “ : woos re
. . ‘ woe Loe
Zt Cee

